                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

 UNITED STATES OF AMERICA                    )
                                             )
                                             )
 v.                                          )                      Case No. 3:07-cr-00051-3
                                             )
                                             )
 JOHNNIE MARTIN                              )


  SUPPLEMENTAL EXHIBITS TO MOTION FOR COMPASSIONATE RELEASE OR,
 IN THE ALTERNATIVE, FOR SENTENCE REDUCTION PURSUANT TO THE FIRST
                           STEP ACT OF 2018

        The defendant, Johnnie Martin, by and through undersigned counsel, respectfully submits

 the attached exhibits to supplement his previously filed motion for compassionate release [Doc.

 958]. The supplemental exhibits are: an updated Bureau of Prisons Progress Report for Mr. Martin;

 a letter in support of Mr. Martin from Jamille Starks, and a letter in support of Mr. Martin from

 Maria Martins.

        Respectfully submitted,

                                               s/Tyler M. Caviness
                                             Tyler M. Caviness, BPR # 036273
                                             THE LAW OFFICE OF TYLER M. CAVINESS
                                             932 W Forest Blvd, Knoxville, TN 37909
                                             (865) 936-9499; Fax: (865) 936-9015
                                             tyler@tylermcavinesslaw.com
                                             Attorney for Johnnie Martin




Case 3:07-cr-00051-TAV-HBG          Document 967 Filed 03/27/25            Page 1 of 1     PageID
                                          #: 9037
